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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                        ) Case No.: CR.S. 07-303 GEB
     United States of America,            )
 9                                        ) STIPULATION AND ORDER TO CONTINUE
                 Plaintiff,               ) STATUS CONFERENCE
10                                        )
           vs.                            ) Court: Hon. Judge Garland E.
11                                        ) Burrell, Jr.
                                          ) Time:   9:00 a.m.
12   Rebecca Salsedo,                     ) Date:   June 11, 2010
                                          )
13               Defendant
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16         Defendant Rebecca Salsedo is charged in an indictment alleging
17   four counts of violations of 21 U.S.C. §§s 841(a)(1) & § 846 –
18   Distribution and Conspiracy to Distribute Cocaine; Possession of
19   Cocaine with Intent to Distribute; and Manufacture of Marijuana.         Ms.
20   Salsedo is charged in counts one and three. A status conference was
21   previously set for April 23, 2010.         The parties are involved in
22   defense investigation, as well as negotiations and all parties request
23   that the current status conference be continued to June 11, 2010, and
24   that date is available with the Court.
25         The parties agree that time should be excluded under 18 U.S.C. §
26   3161(h)(8)(i) for defense preparation and under local code T4.
27   ///
28   ///




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     Dated: April 22, 2010             Respectfully submitted,
 1

 2

 3                                     __/s/ Shari Rusk___
                                       Shari Rusk
 4                                     Attorney for Defendant
                                       Rebecca Salsedo
 5

 6
                                        /s/ Jason Hitt
 7                                     Jason Hitt
                                       Assistant United States Attorney
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11                                     ORDER

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13        IT IS SO ORDERED.   The Court finds excludable time through June

14   11, 2010, based on Local Code T4, giving counsel reasonable time to

15   prepare.

16   DATED: 5/7/10
                                    GARLAND E. BURRELL, JR.
17
                                    United States District Judge
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